           Case 2:02-cr-00374-JCC        Document 599       Filed 07/06/05    Page 1 of 3




 1
 2
 3
 4
 5
 6
 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA,     )
                                 )
11              Plaintiff,       )                CASE NO.      CR02-374 JCC
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    MAXIMILIANO VIDAL-MEDINA, )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Count 1:      Conspiracy to Distribute Cocaine, Heroin, and Methamphetamine,
18                          in violation of Title 21, U.S.C., Sections 841(a)(1), 841(b)(1)(A),
19                          and 846; and
20            Count 11:     Possession of Heroin With Intent to Distribute, in violation of Title
21                          21, U.S.C., Sections 841(a)(1) and 841(b)(1)(A), and Title 18,
22                          U.S.C., Section 2.
23   Date of Detention Hearing: June 24, 2005.
24            The Court, having conducted an uncontested detention hearing pursuant to Title
25   18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
26   detention hereafter set forth, finds that no condition or combination of conditions which the

     DETENTION ORDER
     PAGE -1-
          Case 2:02-cr-00374-JCC        Document 599      Filed 07/06/05     Page 2 of 3




 1 defendant can meet will reasonably assure the appearance of the defendant as required and
 2 the safety of any other person and the community. The Government was represented by
 3 John Lulejian for Doug Whalley. The defendant was represented by Barry Flegenheimer.
 4           The Government filed a motion for detention, to which the defendant stipulated
 5 without prejudice.
 6       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 7           (1)    There is probable cause to believe the defendant committed the drug
 8                  conspiracy offense. The maximum penalty is in excess of ten years.
 9                  There is therefore a rebuttable presumption against the defendant’s
10                  release based upon both dangerousness and flight risk, under Title 18
11                  U.S.C. § 3142(e).
12           (2)    Nothing in this record satisfactorily rebuts the presumption against
13                  release for the following reasons:
14                  (a)    The defendant poses a heightened risk of flight given his history
15                         of flight to avoid prosecution; this, in combination with the nature
16                         of the instant offense, is of concern to the Court;
17                  (b)    The defendant stipulated to detention.
18           (3)    Based upon the foregoing information, it appears that there is no
19                  condition or combination of conditions that would reasonably assure
20                  future Court appearances and/or the safety of other persons or the
21                  community.
22
23   It is therefore ORDERED:
24           (l)    The defendant shall be detained pending trial and committed to the
25                  custody of the Attorney General for confinement in a correction facility
26                  separate, to the extent practicable, from persons awaiting or serving

     DETENTION ORDER
     PAGE -2-
         Case 2:02-cr-00374-JCC     Document 599       Filed 07/06/05    Page 3 of 3




 1               sentences or being held in custody pending appeal;
 2         (2)   The defendant shall be afforded reasonable opportunity for private
 3               consultation with counsel;
 4         (3)   On order of a court of the United States or on request of an attorney for
 5               the Government, the person in charge of the corrections facility in which
 6               the defendant is confined shall deliver the defendant to a United States
 7               Marshal for the purpose of an appearance in connection with a court
 8               proceeding; and
 9         (4)   The clerk shall direct copies of this order to counsel for the United
10               States, to counsel for the defendant, to the United States Marshal, and to
11               the United States Pretrial Services Officer.
12         DATED this 6th day of July, 2005.


                                                    A
13
14
                                                    MONICA J. BENTON
15
                                                    United States Magistrate Judge
16
17
18
19
20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
